Case: 1:17-cv-01151 Document #: 45 Filed: 10/03/17 Page 1 of 4 Page|D #:297

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS
EASTERN DIVISION
DEWEY TURNBOW,
Plaintiff/Counter-Defendant Case No. 17 cv 1151
v. Judge Robert W. Gettleman

BLUE CLEAR LLC d/b/a soUTH

)

)

)

)

§

) Magistrate Judge Jeffrey Cole
SIDE STORIES PROPERTY )

)

)

)

)

)

)

)

MANAGEMENT, JONATHAN
MICKELSON, and JULIAN
MICKELSON, individually,
MICKELSON BROTHERS LLC,
MICKELSON BROTHERS III LLC,

Defendants/Counter-Plaintiffs

JOINT MOTION FOR
APPROVAL OF SETTLEMENT

COMES NOW the Parties in the above-captioned case and respectfully requests the Court
to approve the Settlement reached herein and states in support the follovving:

l. The Complaint and First Amended Complaint filed by the Plaintiff alleges, inter
alia, a claim for unpaid overtime against the Defendants in alleged violation of the F air Labor
Standards Act (“FLSA”) [29 USC section 201 et seq.].

2. Pursuant to an Order of this Court, the parties participated in a settlement
conference on September 7, 2017 before the Honorable Magistrate Judge Jeffrey Cole.

3. On Septernber 7, 2017, the parties negotiated a settlement agreement

(“Agreement”) Which resolved all disputes between them including the FLSA claim.

Case: 1:17-cv-01151 Document #: 45 Filed: 10/03/17 Page 2 of 4 Page|D #:298

4. The terms of the Agreement provide for several payments to be made to the
Plaintiff, including a payment for wages. The parties have agreed that the terms of the Agreement,
including, but not limited to, the payment of wages to the Plaintiff, are in full satisfaction of their
claims and have signed a mutual general release of all existing claims between them.

5. The parties agreed to maintain confidentiality concerning the terms of the
settlement agreement and, accordingly, the transcript of the September 7, 2017 court appearance
during which Magistrate Cole and the parties set forth the terms of the Agreement has been filed
under seal.

6. In order to maintain the confidentiality of the Agreement, the parties are agreeable
to submit the Agreement for an in camera review by this Court if it desires to review the Agreement.

7. A private settlement of an FLSA claim must be approved by either the U.S.
Department of Labor or a District Court. See Bz'nissia v. Suchecka, No. 13-1230, 2017 WL 4180289,
at *2-3 (ND IL Sept. 21, 2017).

8. The parties were represented by counsel knowledgeable and experienced with the
FLSA throughout these proceedings and at the settlement conference

Accordingly, it is respectfully requested that the Court approve the settlement agreement

reached with respect to the settlement of Plaintiff’s FLSA claim.

 

Case: 1:17-cv-01151 Document #: 45 Filed: 10/03/17 Page 3 of 4 Page|D #:299

Dated: October 3, 2017

Respectfully submitted,

BLUE CLEAR LLC d/b/a/SOUTH
SIDE STORIES PROPERTY
l\/IANAGEMENT, 1 ONATHAN
MICKELSON, and JULIAN
MICKELSON, individually,
MICKELSON BROTHERS LLC,
MICKELSON BROTHERS 111 LLC,

By: s/Paul J. Cherner

One of the attorneys for the
Dej%ndants/Counter-Plaintz`]jfs

Joshua D. Holleb (#6185409)

Paul .1. Cherner (#0431990)

Michael A. Paull (ARDC No. 6194021)
Daniel R. Madock (ARDC No. 6192393)
KLEIN DUB & HOLLEB, LTD.

660 LaSallc Place, Suite 100

Highland Park, lllinois 60035

Phone: 847-681-9100
jdh@labor~law.com

pjc@labor-law. com
map@labor~law.com
drm@labor-law.com

Attorneysfor Defendants/Counter-Plaintz'fj%

DEWEY TURNBOW,
Plaintiff/Counter-Defendant

By: s/Ashlev L. Orler, Esq.

One ofthe attorneys for Plaz`ntz`]j"/
Counter-Defendant

Laura A. Balson, Esq.(#629 l 3 77)
Ashley L. Orler, Esq. (#6297339)
Anthony J. D’Agostino (#6299589)
GOLAN CHRISTIE TAGLIA LLP
70 West Madison Street, Suite 1500
Chicago, IL 60654

Phone: 312-263-2300
labalson@gct.law

alorler@gct.law

aj dagostino@gct.law

Attorneysfor PZaz`ntz'ff/Counter-Defendant

Case: 1:17-cv-01151 Document #: 45 Filed: 10/03/17 Page 4 of 4 Page|D #:300

CERTIFICATE OF SERVICE
The undersigned attorney certifies that a true and correct copy of the foregoing Joint

Motion for Approval of Settlement was served upon:

Laura A. Balson, Esq.

Ashley L. Orler, Esq.

Anthony 1. D’Agostino

GOLAN CHRISTIE TAGLIA LLP
70 West Madison Street, Ste. 1500
Chicago, 1L 60654

via Cl\/l/ECF filing, this 3rd day of October, 2017.

s/Paul 1. Chemer

 

